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 4   Attorneys for Markel American
     Insurance Company
 5

 6                         IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ALASKA
 7
     CHRISARA, LLC, an Alaska limited liability
 8   company, and JOERGEN SCHADE,
                                                         No.: 5:12-cv-00005-TMB
 9                         Plaintiffs,
                                                         CORPORATE DISCLOSURE
10   v.                                                  STATEMENT OF MARKEL
                                                         AMERICAN INSURANCE
11   MARKEL AMERICAN INSURANCE                           COMPANY, INC.
     COMPANY, a Virginia corporation,
12
                           Defendant.
13

14          Markel American Insurance Company (“Markel”) provides the following Corporate
15   Disclosure Statement pursuant to Fed. R. Civ. P. 7.1:
16          Markel is a wholly-owned subsidiary of Markel Corporation, a publicly-traded company.
17          DATED this 14th day of September, 2012.
18                                                    NICOLL BLACK & FEIG PLLC
19

20                                                    /s/ Chris P. Reilly
                                                      Chris P. Reilly, Alaska Bar No. 0807047
21                                                    Attorneys for Defendant Markel American
                                                      Insurance Company
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     CORPORATE DISCLSOURE                                                     LAW OFFICES OF

     STATEMENT OF MARKEL AMERICAN                                     N IC O L L B L A C K & F E IG
                                                              A P ROFE S S ION AL LIM ITE D LIABILI TY COM P ANY
     INSURANCE COMPANY, INC. - 1                                    1325 FOURTH AV E NUE , S UITE 1650
                                                                       S E ATTLE , W AS HINGT ON 98101
                                                                                TEL: 206-838-

               Case 5:12-cv-00005-TMB Document 1 Filed 09/14/12 Page 1 of 2
 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that on September 14, 2012, I electronically filed the foregoing with the
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
 3   following:
 4   Mr. H. Clay Keene
     Keene & Currall, P.C.
 5   540 Water Street, Suite 302
     Ketchikan, AK 99901
 6   Attorney for Plaintiffs
 7
            Dated this 14th day of September, 2012
 8                                                       NICOLL BLACK & FEIG PLLC

 9
                                                         /s/ Chris P. Reilly
10                                                       Chris P. Reilly, WSBA #25585
                                                         Alaska Bar No. 0807047
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     CORPORATE DISCLSOURE                                                      LAW OFFICES OF

     STATEMENT OF MARKEL AMERICAN                                      N IC O L L B L A C K & F E IG
                                                               A P ROFE S S ION AL LIM ITE D LIABILI TY COM P ANY
     INSURANCE COMPANY, INC. - 2                                     1325 FOURTH AV E NUE , S UITE 1650
                                                                        S E ATTLE , W AS HINGT ON 98101
                                                                                 TEL: 206-838-

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